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1                              UNITED STATES DISTRICT COURT
2                                  DISTRICT OF ARIZONA
3     Mi Familia Vota, et al.,
4                         Plaintiffs,             Case No: 2:22-cv-00509-SRB (Lead)
      v.
5
                                                                 Order
6     Adrian Fontes, et al.,
7
                     Defendants.
8     _________________________________
9
     AND CONSOLIDATED CASES
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11
12
     Intervenor Republican National Committee’s Motion in Limine re: Admissibility of Legal
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     Opinions is granted. Pursuant to Rules 701, 702, and 801(d)(2) of the Federal Rules of
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     Evidence, the Court orders that opinions evidence as to the legality of the challenged
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     laws, including their alleged preemption by federal statute or unconstitutionality, shall
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     not be admitted into evidence.
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